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                                                                            E-FILED
                                                 Tuesday, 30 April, 2019 05:05:11 PM
                                                       Clerk, U.S. District Court, ILCD




                EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

JANE DOE,
                       Plaintiff,
        v.                                                 Case No. 3:18-cv-03191-SEM-TSH

Richard Macleod, Warden Margaret Burke,
Todd Sexton, Mike Atchison, Angela Locke,
Kess Roberson, Christine Brannon, Patrick
Keane, Felipe Zavala, Michael Funk, Alan
Pasley, Clara Charron, Shari Klassen, Jennifer
Meaker, Marcia Mibbs, Heidi Browne, Lisa
Johnson, Debra Pollock, Melinda Eddy, Dr.
Keena Peek, Grant Willis, Dr. Jennifer
McClellan, Charles Gibbons, Bobbie LeDuc,
Brent Blanco, and other as-yet-unidentified
employees of the Illinois Department of
Corrections,

                       Defendants.

                                          COMPLAINT

       Plaintiff JANE DOE, by her undersigned attorneys, for her complaint against defendants

Richard Macleod, Warden Margaret Burke, Todd Sexton, Mike Atchison, Angela Locke, Kess

Roberson, Christine Brannon, Patrick Keane, Felipe Zavala, Michael Funk, Alan Pasley, Clara

Charron, Shari Klassen, Jennifer Meaker, Marcia Mibbs, Heidi Browne, Lisa Johnson, Debra

Pollock, Melinda Eddy, Dr. Keena Peek, Grant Willis, Dr. Jennifer McClellan, Charles Gibbons,

Bobbie LeDuc, Brent Blanco, and other as-yet-unidentified employees of the Illinois Department

of Corrections alleges as follows:

                                    JURISDICTION AND VENUE

       1.      This is an action brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of law of plaintiff’s rights as secured by the United States Constitution.
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         2.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367. Venue is

proper in this district under 28 U.S.C. § 1391(b) because the events giving rise to the claims

asserted in this complaint occurred in this judicial district.

                                              PARTIES

         3.     Plaintiff Jane Doe is a 29-year-old resident of McHenry County, Illinois, who

recently completed a sentence in the Illinois Department of Corrections (“IDOC”). She is a mother

of a nine-year old daughter and she worked as a gymnastics instructor to young children for many

years.

         4.     Defendant Richard Macleod is employed as a Correctional Counselor II by IDOC.

At all times relevant to this complaint, defendant Macleod provided counseling services for female

prisoners at Logan Correctional Center (“Logan”).

         5.     Todd Sexton was a supervisory officer at Logan and a member of the prison’s

Internal Affairs Department at the time of the events giving rise to this case. On information and

belief, defendant Sexton was friends with Macleod and knew about Macleod’s sexual misconduct.

         6.     At times relevant to this case, Defendants Mike Atchison, Mike Funk, Patrick

Keane, Felipe Zavala, and Alan Pasley were administrators within IDOC and were responsible for

developing, implementing, and overseeing implementation of the Prison Rape Elimination Act

(“PREA”) at all IDOC facilities, including Logan; for ensuring that administrators and staff at

Logan and other IDOC facilities took steps to address the problem of custodial sexual assault; and

for ensuring the reasonable safety of women in IDOC custody.

         7.     At times relevant to this case, Defendants Christine Brannon, Kess Roberson,

Angela Locke, and Margaret Burke held the position of Warden and/or Acting Warden of Logan.

As wardens, these Defendants were responsible for: overseeing day-to-day operations at Logan,

including compliance with PREA; for promulgating rules, regulations, polices, and procedures to


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ensure reasonable safety of women prisoners at Logan; and for supervising, training, assigning,

and disciplining counselors, correctional officers, and internal affairs investigators at Logan,

including Defendants Richard Macloed and Todd Sexton.              Additionally, Defendant Burke

facilitated or approved the unwarranted retaliatory action taken in response to reports that plaintiff

had been sexually assaulted and harassed by Richard Macleod.

       8.      At times relevant to this complaint, Defendants Clara Charron, Shari Klassen,

Jennifer Meaker, Heidi Browne, Lisa Johnson, Debra Pollock, and Melinda Eddy held the position

of PREA compliance manager and/or backup PREA compliance manager for Logan. In these

positions, these Defendants were responsible developing, planning, and overseeing efforts to

address the problem of custodial sexual assault at Logan and for ensuring compliance with PREA

regulations and standards.

       9.      At times relevant to this case, Defendants Dr. Keena Peek, Grant Willis, Dr.

Jennifer McClellan, Charles Gibbons, Bobbie LeDuc, and Brent Blanco were members of the

PREA incident review team at Logan. In this role, these Defendants were responsible for reviewing

investigations into allegations of sexual assault at Logan and for evaluating and recommending

policy changes to prison administrators to address the problem of sexual assault at the facility.

       10.     At all times relevant to this complaint, each of the Defendants was acting within

the scope of their employment and under color of law.

                                  FACTUAL ALLEGATIONS

       11.     Ms. Doe was a prisoner in IDOC from March 2015 to July 2018.

       12.     Upon her admission to IDOC, Ms. Doe was housed at Logan, where she remained

until August 2017.

       13.     During the period of her incarceration, a court order was in effect that gave Ms.

Doe phone calls with her minor daughter once a week.


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       14.     Ms. Doe loves her daughter dearly, and it was very difficult for her to be separated

from her daughter while she was in prison. While incarcerated, the weekly phone calls to her

daughter were extremely important to her.

       15.     In July 2016, Ms. Doe was placed in segregation for a period of 18-days. While in

segregation, Ms. Doe was not permitted to have calls with her daughter.

       16.     After her discharge from segregation, on August 4, 2016, Ms. Doe was assigned to

Housing Unit 7, where defendant Richard Macleod acted as counselor.

       17.     Ms. Doe needed to go through Macleod in order to reinstate her phone calls with

her daughter and to receive a work assignment.

       18.     In response in Ms. Doe’s request to reinstate the phone calls and obtain a work

assignment, Macleod offered to “interview” her and had Ms. Doe go into a private room alone

with him.

       19.     While alone in this room, Macleod told Ms. Doe that she was pretty and asked her

if she would tell anyone if he had her come to his office to “help” him on the weekends,

acknowledging that no other staff would be there at that time.

       20.     A few days later, Macleod called Ms. Doe to his office so that she could use his

phone for the call to her daughter.

       21.     After Ms. Doe spoke with her daughter, Macleod kissed Ms. Doe, which shocked

and surprised her. She immediately left the office after he kissed her.

       22.     At all times Macleod knew how important Ms. Doe’s phone calls with her daughter

were to her and he knew that Ms. Doe would need to go through him in order to have the calls.

       23.     Subsequently, on a weekly basis, Macleod would call Ms. Doe to his office for her

phone calls, during which he would sexually assault her and subject her to sexual harassment.




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       24.     Macleod would regularly expose himself to Ms. Doe and make sexual comments

to her while she was on the phone with her daughter. On two occasions, he coerced her to have

non-consensual sexual intercourse with him and on two other occasions he coerced her to perform

non-consensual oral sex on him.

       25.     In November 2016, Ms. Doe was transferred to live in Housing Unit 4.

       26.     On information and belief, Ms. Doe should have been assigned a new counselor in

the Housing Unit 4, but Macleod made a special effort to remain her counselor.

       27.     Ms. Doe did not report Macleod’s misconduct because he told her that if she did so

she would “get a year across the board,” a phrase that plaintiff understood to mean that she would

have to spend a full year in segregation and that she would have to spend an extra year at IDOC.

       28.     In addition, Macleod told Ms. Doe that he had a friend in IDOC, defendant Sexton,

a Lieutenant who worked for Internal Affairs, who gave him advice about how to avoid punishment

if his sexual misconduct was discovered. Plaintiff understood this to mean that Macleod would not

be held accountable for his actions even if she did report his misconduct.

       29.     Defendant Macleod’s abuse of plaintiff continued through at least May 3, 2017,

after which she was finally assigned to a new counselor.

       30.     On information and belief, defendant Sexton was aware of Macleod’s treatment of

Ms. Doe since September 2016.

       31.     On or around August 4, 2017, defendant Sexton summoned Ms. Doe in for an

interview about Macleod. Sexton told her that his request to interview her was based on

information he received from an unknown source.

       32.     At first, Ms. Doe did not say anything because she was afraid of retaliation, but

eventually Ms. Doe told him about Macleod’s abuse.




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       33.     After talking to Sexton, Ms. Doe was immediately, involuntarily transferred from

Logan to Decatur Correctional Center.

       34.     Ms. Doe did not request to be transferred to Decatur Correctional Center and, in

fact, she did not want to go Decatur Correctional Center.

       35.     After the transfer, Ms. Doe was unable to have her phone calls with her daughter

for three weeks. Decatur was farther from other members of her family, thus they visited her less.

       36.     Whereas Ms. Doe had developed friendships and an emotional support system at

Logan, she did not know anybody at Decatur.

       37.     Being removed from Logan also deprived Ms. Doe the opportunity to finish a

cosmetology program in which she had been enrolled at Logan. Participating in this program had

given her hope and greater employment opportunities for her future outside of Logan.

       38.     Being removed from Logan also caused Ms. Doe to lose a job she cherished on the

Logan garden crew. This job taught her skills that she hoped she might use when she was released

from prison.

       39.     On information and belief, Ms. Doe’s transfer was directed and/or carried out by,

among others, Defendants Sexton, defendant Warden Burke, and other as-yet-unidentified

defendants, in retaliation for plaintiff’s complaint about Macleod, and with the knowledge that it

would be harmful to plaintiff.

       40.     On information and belief, defendant Macleod abused other women at Logan in the

same way that he abused plaintiff. The Illinois State Police (“ISP”) investigated Macleod’s sexual

assault of plaintiff. During that investigation, a number of other inmates described having sexual

encounters with Macleod.




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        41.      Upon information and belief, IDOC personnel at Logan, including Defendants and

other as-of-yet unidentified IDOC officials, knew as early as February 2017 that Macleod was in

fact engaging in this pattern of abuse, knew of a substantial likelihood that defendant Macleod was

sexually abusing prisoners at Logan, and/or failed to take reasonable steps to prevent it from

continuing. As a result of Defendants’ indifference and failure to intervene, Ms. Doe’s

constitutional rights were violated.

        42.      As a result of the defendants’ misconduct, Ms. Doe has suffered and continues to

suffer severe emotional distress, including but not limited to humiliation, depression, rage, anxiety,

panic attacks, insomnia, and post-traumatic stress.

                                             Count I
                              42 U.S.C. § 1983 – Eighth Amendment

        43.      Plaintiff repeats and re-alleges each paragraph of this complaint as if fully set forth

in this count.

        44.      In the manner described more fully above, defendant Richard Macleod’s conduct

toward plaintiff violated her constitutional right to be free from cruel and unusual punishment.

        45.      Likewise, in the manner described more fully above, defendants Todd Sexton,

Margaret Burke, Mike Atchison, Angela Locke, Kess Roberson, Christine Brannon, Patrick

Keane, Felipe Zavala, Michael Funk, Alan Pasley, Clara Charron, Shari Klassen, Jennifer Meaker,

Marcia Mibbs, Heidi Browne, Lisa Johnson, Debra Pollock, Melinda Eddy, Dr. Keena Peek, Grant

Willis, Dr. Jennifer McClellan, Charles Gibbons, Bobbie LeDuc, Brent Blanco, and other as-yet-

unidentified defendants, violated Ms. Doe’s right to be free from cruel and unusual punishment

because they knew that plaintiff’s rights were being violated, had the realistic opportunity to

intervene to prevent or stop the misconduct from occurring, and failed to do so. In the alternative,




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these defendants were on notice of a substantial risk of harm to plaintiff and they consciously

disregarded that risk.

       46.     Although Logan and other IDOC facilities purportedly maintain a “zero tolerance”

sexual assault policy, sexual assaults are widespread and not limited to Macleod’s treatment of

plaintiff. To the contrary, a large number of inmates at Logan and other IDOC facilities have been

victims or sexual assault and harassment, including numerous reported instances of staff-on-

inmate sexual assault and harassment.

       47.     Across IDOC, the numbers are staggering. In 2014, there were over 275 reported

allegations of sexual assault or harassment. Of those incidents, 57 related to staff-on-inmate sexual

assault or harassment; IDOC admits that eight of those staff-on-inmate incidents occurred and

another 40 were followed by investigations that were insufficient to develop the evidence needed

to determine whether or not the incident occurred. In 2015, the number of reported allegations of

sexual assault or harassment jumped to 404. Of those incidents, 118 related to staff-on-inmate

sexual assault or harassment; IDOC admits that seven of those staff-on-inmate incidents occurred

and another 72 were followed by investigations that were insufficient to develop the evidence

needed to determine whether or not the allegation occurred. In 2016, there were over 1,000

reported allegations of sexual assault or harassment. Of those incidents, 453 related to staff-on-

inmate sexual assault or harassment; IDOC admits that 11 of those staff-on-inmate incidents

occurred and another 271 were followed by investigations that were insufficient to develop the

evidence needed to determine whether or not the allegation occurred. In 2017, there were over

1,400 reported allegations of sexual assault or harassment. Of those incidents, almost 650 related

to staff-on-inmate sexual assault or harassment; IDOC admits that 5 of those staff-on-inmate




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incidents occurred and another 484 were followed by investigations that were insufficient to

develop the evidence needed to determine whether or not the allegation occurred.

       48.      The sexual assault and harassment problem was pervasive at Logan in particular.

In 2016, there were 145 reported allegations of sexual assault or harassment at Logan. Of those

incidents, 91 related to inmate-on-inmate sexual abuse or harassment (by far the most at any IDOC

facility referenced in the 2016 Annual PREA Report), and 54 related to staff-on-inmate sexual

abuse or harassment (the second most at any IDOC facility contained in the 2016 Annual PREA

Report). Of the 54 reported instances of staff-on-inmate sexual abuse or harassment, eleven were

followed by investigations that were admittedly insufficient to develop the evidence needed to

determine whether or not the allegation occurred. In 2017, there were 180 reported allegations of

sexual assault or harassment at Logan. Of those incidents, 135 related to inmate-on-inmate sexual

abuse or harassment (by far the most at any IDOC facility contained in the 2017 Annual PREA

Report), and 45 related to staff-on-inmate sexual abuse or harassment (significantly more than over

20 other IDOC facilities contained in the 2017 Annual PREA Report). Of the 45 reported instances

of staff-on-inmate sexual abuse or harassment, twelve were followed by investigations that were

admittedly insufficient to develop the evidence needed to determine whether or not the allegation

occurred.

       49.      In addition to the instances of sexual assaults reported in the PREA reports

mentioned above, staff-on-inmate sexual assaults at Logan have been referred to the Illinois State

Police (“ISP”) for investigation. For example:

       •     ISP investigated a complaint that, in September 2015, Logan medical and corrections

             staff performed a forced cavity search on an inmate while she screamed “rape”;




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    according to ISP records, the case was pending prosecution for criminal sexual assault

    and battery as of January 2016.

•   ISP investigated a complaint that, in mid-2016, a Logan corrections staff member

    forced an inmate to have repeated sexual encounters under threat of harm to the inmate

    and her family; the corrections staff member admitted to having sexual encounters with

    the inmate, but defended his actions on the grounds that the encounters were

    consensual; according to ISP records, the case was pending prosecution for custodial

    sexual misconduct as of November 2016.

•   ISP investigated a series of complaints that, in mid-2017, a Logan correctional officer

    forced one or more inmates to have sexual encounters with him in exchange for pens,

    food, or the promise of future heroin; according to ISP records, the case was pending

    prosecution for custodial sexual misconduct as of May 2018.

•   ISP investigated a complaint that, in June 2017, a Logan corrections staff member

    forced himself on and had non-consensual sexual intercourse with an inmate; according

    to ISP records, the case was pending prosecution for custodial sexual misconduct as of

    April 2018.

•   ISP investigated a complaint that, between 2014 and May 2017, an inmate performed

    oral sex on a Logan staff member on approximately 20 different occasions; according

    to ISP records, the case was pending prosecution for custodial sexual misconduct as of

    May 2018.

•   ISP investigated numerous complaints that, between 2016 and 2017, a Logan

    corrections staff member sexually assaulted numerous inmates; according to ISP




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             records, the case was pending prosecution for custodial sexual misconduct as of

             November 2017.

       •     ISP investigated a complaint that, in mid-2018, an inmate had sexual encounters with

             two Logan corrections officers on numerous occasions; according to ISP records, the

             case was pending prosecution for aggravated criminal sexual assault in October 2018.

       50.      Staff-on-inmate sexual assaults at Logan have also generated a number of civil

lawsuits. The assaults subject to such civil litigation include: (a) the December 2015 rape of an

inmate by a corrections officer that is the subject of the Farris v. Kohlrus case pending in this

Court; (b) the mid-2017 staff-on-inmate sexual assault that is the subject of the Doe v. Ziemer case

pending in this Court.

       51.      Defendants Margaret Burke, Mike Atchison, Angela Locke, Kess Roberson,

Christine Brannon, Patrick Keane, Felipe Zavala, Michael Funk, Alan Pasley, Clara Charron, Shari

Klassen, Jennifer Meaker, Marcia Mibbs, Heidi Browne, Lisa Johnson, Debra Pollock, Melinda

Eddy, Dr. Keena Peek, Grant Willis, Dr. Jennifer McClellan, Charles Gibbons, Bobbie LeDuc,

Brent Blanco were on notice of numerous instances of sexual misconduct by staff directed at Logan

inmates, were aware that a systemic sexual assault problem existed at Logan, and were further

aware of the custom, policies, and practices at Logan that permitted this type of misconduct to

flourish. Further, each of these defendants had both the duty and power to take steps to change

these policies and procedures in a manner which would have reduced the danger that Plaintiff and

other Logan inmates would be subjected to sexual misconduct at the hands of Logan staff. These

Defendants had knowledge of the problem by way of, among other things, PREA Compliance

Reports, John Howard Association Investigations and Reports, grievances, training, reports from

counselors, meetings, and lawsuits.




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       52.     Defendants Margaret Burke, Mike Atchison, Angela Locke, Kess Roberson,

Christine Brannon, Patrick Keane, Felipe Zavala, Michael Funk, Alan Pasley, Clara Charron, Shari

Klassen, Jennifer Meaker, Marcia Mibbs, Heidi Browne, Lisa Johnson, Debra Pollock, Melinda

Eddy, Dr. Keena Peek, Grant Willis, Dr. Jennifer McClellan, Charles Gibbons, Bobbie LeDuc,

Brent Blanco knew that the the existence of this problem posed a substantial risk of harm to women

prisoners like Plaintiff, yet they failed to take reasonable steps to mitigate the risk of harm—

including those steps available to them pursuant to their supervisory positions and/or positions

under the PREA statute—thereby exhibiting deliberate indifference. Among other things, these

Defendants failed to adequately investigate, supervise, control, and discipline IDOC employees

who engaged in, or were accused of engaging in, staff-on-inmate assaults, thus directly

encouraging and facilitating future abuses such as those affecting Plaintiff. Such actions could

have included (by way of example only): providing training to all staff at Logan Correctional

Center on the unique challenges and requirements presented in dealing with women prisoners

rather than the men prisoners who had previously been housed at Logan; providing a more rigorous

and independent protocol for investigating allegations of sexual misconduct by staff; enforcing the

zero tolerance rule which existed on paper (but was in fact not enforced) barring all sexual

harassment and other misconduct by staff directed at prisoners, including zero tolerance of failures

to report such misconduct; and on the job situational training and feedback by supervisors

whenever they witnessed an instance of sexual misconduct or harassment by those they supervised.

       53.     As a result of Defendants’ misconduct, Plaintiff’s rights were violated and she

experienced injuries, including emotional distress.




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        54.      The misconduct described in this count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for plaintiff’s clearly established

constitutional rights, and not for any legitimate penological purpose.

        55.      As a result of the misconduct described in this count, plaintiff suffered harm.

                                             Count II
                         42 U.S.C. § 1983 - First Amendment Retaliation

        56.      Plaintiff repeats and realleges each paragraph of this compliant as if fully set forth

in this count.

        57.      In the manner described more fully above, defendants Sexton, Burke, and other as-

yet-unidentified defendants retaliated against Ms. Doe for engaging in protected First Amendment

activity when she reported Macleod’s misconduct.

        58.      The misconduct described in this count was objectively unreasonable and was

undertaken intentionally, with malice and knowing disregard for plaintiff’s clearly established

constitutional rights, and not for any legitimate penological purpose.

        59.      As a result of the defendants’ retaliatory actions, plaintiff suffered harm.



        WHEREFORE, plaintiff Jane Doe prays that this Court enter judgment in her favor and

against the defendants, awarding compensatory damages, costs and attorneys’ fees, and punitive

damages against each of the defendants in their individual capacities, and for such further

additional relief as this court may deem appropriate and just.




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JURY DEMAND

Plaintiff demands trial by jury.

                                         Respectfully submitted,

                                         JANE DOE

                                         By: /s/ Nicholas F. Wasdin

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